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                               CENTRAL DISTRICT OF CALIFORNIA
    13
                                          WESTERN DIVISION
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    15
         Jenny Lisette Flores., et al.,             Case No. CV 85-4544-DMG-AGRx
    16
                          Plaintiffs,               EVIDENCE IN SUPPORT OF
    17                                              PLAINTIFFS’ EX PARTE
               v.                                   APPLICATION FOR
    18                                              TEMPORARY RESTRAINING
         William Barr, Attorney General of the      ORDER AND ORDER TO SHOW
    19   United States, et al.,                     CAUSE WHY A PRELIMINARY
                                                    INJUNCTION AND CONTEMPT
    20                    Defendants.               ORDER SHOULD NOT ISSUE
    21                                              Hearing: None set
    22                                              [HON. DOLLY M. GEE]
    23
                                                    REDACTED VERSIONS OF
    24                                              DOCUMENTS FILED UNDER
                                                    SEAL
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                                                                         EX PARTE APPLICATION
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                                                                    EVIDENCE IN SUPPORT OF
                                                                     EX PARTE APPLICATION
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                                                                     EX PARTE APPLICATION
                                                                       CV 85-4544-DMG-AGRX
